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                                  No. 6:24-cv-00306

                              State of Texas et al.,
                                    Plaintiﬀs,
                                        v.
              United States Department of Homeland Security et al.,
                                   Defendants.


                                     ORDER

              On September 11, 2024, the court of appeals issued an order
          staying proceedings in this court and extending this court’s stay
          of the issuance of parole under the agency rule challenged in this
          case, to allow the court of appeals time to consider an appeal from
          this court’s order denying a motion to intervene. Doc. 68, Texas
          v. DHS, No. 24-40571 (5th Cir.). Earlier today, the court of ap-
          peals entered a judgment affirming this court’s denial of interven-
          tion; the mandate has not yet issued. Doc. 112, id. More im-
          portantly for purposes of case management in this court, the court
          of appeals vacated its stay order of September 11, 2024. Doc. 111,
          id. That vacatur lifts the stay of proceedings in this court.
              With the stay of proceedings here now lifted, this court now
          issues the following case-management order:
             •   Because the previously ordered period of early discovery
                 had not yet expired when the court of appeals stayed pro-
                 ceedings in this court, a further discovery period is now
                 open. As before, the notice and response periods under
                 Federal Rules of Civil Procedure 27–36 are shortened to 3
                 calendar days. The parties are ordered to immediately
                 meet and confer and reach all necessary agreements to
                 complete discovery by October 11, 2024, when this addi-
                 tional discovery period closes.
             •   The court reissues notice that trial on the merits and at-
                 tendant motions for summary judgment will be advanced

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                 and consolidated with the hearing on plaintiffs’ pending
                 motion for a preliminary injunction. See Doc. 27 at 8; Fed.
                 R. Civ. P. 65(a)(2). For purposes of this order, all plaintiffs
                 are a “side,” and all defendants are a “side.”
             •   By October 18, 2024, each side must file, in one docu-
                 ment, (1) a trial brief explaining its position on the legal
                 and factual issues in the case; (2) any motion for summary
                 judgment, if that relief is sought, and if so, Local Rule CV-
                 56 statements; and (3) by plaintiffs only, updated briefing
                 on their motion for a preliminary injunction, which will re-
                 place and update their current motion briefing. That filing
                 may not exceed 70 pages, excluding attachments. See Doc.
                 4 (order on format of filings).
             •   By October 25, 2024, each side’s response to the other
                 side’s combined trial brief, motion for summary judgment
                 (if any), and motion for a preliminary injunction (by plain-
                 tiffs) must be filed in a single document. That filing may
                 not exceed 70 pages, excluding attachments.
             •   The movants who were previously granted leave to file an
                 amicus curiae brief, see Doc. 51, 53, are again granted leave
                 to file an amicus curiae brief. That brief is due by October
                 25, 2024. It may not exceed 45 pages.
             •   By October 30, 2024, each side may file a combined reply
                 to the other side’s response and to any amicus brief. That
                 filing may not exceed 25 pages, excluding attachments.
             •   The parties shall confer on how to exchange exhibits be-
                 fore trial and on the admissibility of each exhibit. Each side
                 must file an exhibit list, a witness list, and a notice of its
                 requested time for the presentation of evidence. Those fil-
                 ings are due by November 1, 2024. A party may not pre-
                 sent exhibits or witnesses not on its list. Each side’s exhibit
                 list must note the presence or absence of agreement by the
                 other side to each exhibit’s admissibility.
             •   After review of each side’s notice of requested time, which
                 is not binding on the court, the court will follow its

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                 standard practice of judging the appropriate time limit and
                 announcing that time limit for each side’s presentation of
                 the evidence at trial. That single time limit governs the ad-
                 mission of all exhibits and all direct and cross examination
                 of witnesses. All argument time on an evidentiary objec-
                 tion is counted against the loser of the objection.
             •   The consolidated hearing on pending motions, and if nec-
                 essary bench trial to resolve factual issues, is set to begin
                 on November 5, 2024, at 9:00 a.m. in the federal court-
                 house in Tyler, Texas. After receiving all evidence, the
                 court will hear oral argument on the facts and the law.
              For the reasons given in the court’s prior orders, this court’s
          temporary stay and restraining order is reimposed with the same
          terms. See Docs. 27, 54. Given the accelerated case schedule or-
          dered above, that temporary stay and restraining order expires on
          November 8, 2024. This accelerated timeline and procedure
          should allow for the prompt resolution of this case while avoiding,
          with the least burden possible under the circumstances, an irrep-
          arable change in the status quo that would foreclose the court’s
          ability to issue full relief.
                                   So ordered by the court on October 4, 2024.



                                               J. C A M PB EL L B A RK ER
                                               United States District Judge




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